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                                                              October 12, 2021


                 VIA ECF FILING SYSTEM

                      Magistrate Judge Katharine H. Parker
                      Daniel Patrick Moynihan U.S. Courthouse                                                       10/13/2021
                      500 Pearl Street, Courtroom 11A
                      New York, NY 10007-1312

                             Re:      Padilla v. Sacks & Sacks LLP et seq., 1:19-cv-10021
                                      Notice to Court of Settlement in Principle


                 Dear Magistrate Judge Parker:

                         We write, on behalf of all parties, to advise the Court that the parties have reached an
                 agreement in principle to resolve this matter, and contemplate filing a stipulation of voluntary
                 dismissal, with prejudice, within thirty (30) days. Accordingly, the parties respectfully request a
                 stay of the proceedings and that all pending deadlines and conferences be adjourned sine die.

                             We thank the Court for its consideration herein.

                                                                  Respectfully submitted,

                                                                  Lindsey Blackwell
                                                                  Lindsey Blackwell


                 cc: All Counsel of Record (via ECF)




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